Case 4:20-cv-00071-JHM-HBB Document 1-1 Filed 05/07/20 Page 1 of 1 PagelD #: 5

IS 44 (Rev. 09/19)

The JS 44 civil cover sheet and the information contained herein neither replace nor su

CIVIL COVER SHEET

provided by local rules of court. This form, approved by the Judicial Conference of th
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Johnnie Sims-Madison

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Devan Dannelly, 101 North 7th Street, Louisville KY 40203

t

ie

DEFENDANTS

NOTE:
THE TRACT

Attorneys (if Known)

 

ement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

Dana Commerical Vehicle Manufacturing LLC
United Steel Workers of America Local 9443-2

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Brian G. Dershaw, 425 Walnut Street, Cincinnati OH 45202
Alton Priddy 2303 River Road, Louisville KY 40206

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

O 1 U.S. Government

Plaintiff

2 U.S, Government
Defendant

0 3 Federal Question

(U.S. Government Not a Party)

K4 Diversity

(indicate Citizenship of Parties in Tem Il)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place aa “X” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State o1 O 1 Incorporated or Principal Place o4 4
of Business In This State
Citizen of Another State (X*2 © 2 Incorporated and Principal Place os a5
of Business In Another State
Citizen or Subject of a O03 O 3 Foreign Nation o6 O6

Foreign Country

 

IV. NATURE OF SUIT (Place an "X" in One Box Only)

 

 

195 Contract Product Liability
196 Franchise

[ CONTRACT. : TORTS ~FORFEITURE/PENALTY.

0 110 Insurance PERSONAL INJURY PERSONALINJURY [CJ 625 Drug Related Seizure CO 422 Appeal 28 USC 158

© 120 Marine 4 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |@) 423 Withdrawal

130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157

O 140 Negotiable Instrument Liability 367 Health Care/

4 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights

(1 1S1 Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent

152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated
Student Loans 0 340 Marine Injury Product New Drug Application
(Excludes Veterans) 3 345 Marine Preduct Liability © 840 Trademark

(7 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR § L SECUR
of Veteran's Benefits © 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff)

© 160 Stockholders’ Suits 6 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923)

190 Other Contract Product Liability © 380 Other Personal 720 Labor/Management O 863 DIWC/DIWW (405(g))

o & 360 Other Persenal Property Damage Relations 0 864 SSID Title XVI

Oo

Injury
7 362 Personal Injury -
Medical Malpractice

OF 385 Property Damage
Product Liability

 

 

 

 

 

 

(|S REAL PROPERTY— CIVIL RIGHTS PRISONER PETITIONS
( 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus:
1 220 Foreclosure 1 441 Voting G 463 Alien Detainee

O 230 Rent Lease & Ejectment
© 240 Torts to Land

245 Tort Product Liability
© 290 All Other Real Property

 

© 442 Employment

O 443 Housing/
Accommodations

9.445 Amer. w/Disabilities -
Employment

© 446 Amer. w/Disabilities -
Other

( 448 Education

 

© 510 Motions to Vacate
Sentence

© 530 General

© 535 Death Penalty

0 740 Railway Labor Act

0 751 Family and Medical
Leave Act

GK 790 Other Labor Litigation

O 791 Employee Retirement
Income Security Act

IMMIGRATION

O 865 RSI (405(g))

 

FEDERAL TAX SUITS
O 870 Taxes (U.S. Plaintiff
or Defendant)
O 871 [IRS—Third Party
26 USC 7609

 

Other:
O 540 Mandamus & Other
O 550 Civil Rights
O 555 Prison Condition
01 560 Civil Detainee -
Conditions of

 

Confinement

(J 462 Naturalization Application
0 465 Other Immigration
Actions

 

 

Click here for: Nature of Suit Code Descriptions.
BANKRUPTCY. OTHER STATUTES ]

0 375 False Claims Act

O 376 Qui Tam (31 USC
3729(a))

1 400 State Reapportionment

6 410 Antitrust

© 430 Banks and Banking

© 450 Commerce

© 460 Deportation

©) 470 Racketeer Influenced and
Corrupt Organizations

© 480 Consumer Credit
(15 USC 1681 or 1692)

© 485 Telephone Consumer
Protection Act

© 490 Cable/Sat TV

© 850 Securities/Commodities/
Exchange

© 890 Other Statutory Actions

O 891 Agricultural Acts

893 Environmental Matters

O 895 Freedom of Information
Act

O 896 Arbitration

© 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

O 950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an "Xx" in One Box Only)

O11 Original

Proceeding

PK2 Removed from
State Court

oO 3

Remanded from
Appellate Court

o4

Reinstated or © 5 Transferred from © 6 Multidistrict 08 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

VIL REQUESTED IN
COMPLAINT:

diversity statutes

 

Brief description of cause: ——e . .
Plaintiff alleges age and race discrimintation against the defendants

© CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VII. RELATED CASE(S)

(See instructions):

DEMAND $

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

CHECK YES only if demanded in complaint:

JURY DEMAND:

CI Yes CNo

 

IF ANY JUDGE a DOCKET NUMBER _ -
DATE SIGNATURE OF ATTORNEY OF RECORD
05/07/2020 /s/ Brian G. Dershaw

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING [FP

JUDGE

 

MAG. JUDGE
